  Case: 1:10-cv-00046-SNLJ Doc. #: 1 Filed: 03/12/10 Page: 1 of 6 PageID #: 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


JAMI ECKHART,                                  )
500 S. Pacific Cape                            )
Cape Girardeau, MO 63701                       )
                                               )
      Plaintiff,                               )
                                               )      Case No.
      vs.                                      )      Division No.
                                               )
MEDICREDIT, INC. aka OUTSOURCE                 )
GROUP,                                         )
3629 Interstate 70 Drive SE                    )
Columbia, MO 65821                             )
                                               )
      Defendant.                               )


            PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

      JAMI ECKHART (Plaintiff), by her attorneys, KROHN & MOSS, LTD., alleges

the following against MEDICREDIT, INC. aka OUTSOURCE GROUP (Defendant):

                                     INTRODUCTION

   1. Plaintiff’s Verified Complaint is based on the Fair Debt Collection Practices Act, 15

      U.S.C. 1692 et seq. (FDCPA). According to the FDCPA, the United States Congress has

      found abundant evidence of the use of abusive, deceptive, and unfair debt collection

      practices by many debt collectors, and has determined that abusive debt collection

      practices contribute to the number of personal bankruptcies, to marital instability, to the

      loss of jobs, and to invasions of individual privacy. Congress wrote the FDCPA to

      eliminate abusive debt collection practices by debt collectors, to insure that those debt

      collectors who refrain from using abusive debt collection practices are not competitively


                                  VERIFIED COMPLAINT                                            1
Case: 1:10-cv-00046-SNLJ Doc. #: 1 Filed: 03/12/10 Page: 2 of 6 PageID #: 2




   disadvantaged, and to promote consistent State action to protect consumers against debt

   collection abuses. 15 U.S.C. 1692(a) – (e).

2. Plaintiff brings this action to challenge Defendant’s actions with regard to attempts by

   Defendant, a debt collector, to unlawfully and abusively collect a debt allegedly owed by

   Plaintiff, and this conduct caused Plaintiff’s damages.

3. Defendant acted through its agents, employees, officers, members, directors, heirs,

   successors, assigns, principals, trustees, sureties, subrogees, representatives, and

   insurers.

                           JURISDICTION AND VENUE

4. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

   actions may be brought and heard before “any appropriate United States district court

   without regard to the amount in controversy,” and 28 U.S.C. 1367 grants this court

   supplemental jurisdiction over the state claims contained therein.

5. Because Defendant is located in the State of Missouri, personal jurisdiction is

   established.

6. Venue is proper pursuant to 28 U.S.C. 1391(b)(1).

7. Declaratory relief is available pursuant to 28 U.S.C. 2201 and 2202.

                                       PARTIES

8. Plaintiff is a natural person who resides in Cape Girardeau, Missouri, and is allegedly

   obligated to pay a debt, and Plaintiff is a “consumer” as that term is defined by 15 U.S.C.

   1692a(3).

9. According to Defendant, Plaintiff allegedly owes a debt as that term is defined by 15

   U.S.C. 1692a(5).

                               VERIFIED COMPLAINT                                            2
Case: 1:10-cv-00046-SNLJ Doc. #: 1 Filed: 03/12/10 Page: 3 of 6 PageID #: 3




10. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and sought

   to collect a consumer debt from Plaintiff.

11. Defendant is a collection agency with an office in Columbia, Missouri.

12. Defendant uses instrumentalities of interstate commerce or the mails in any business the

   principal purpose of which is the collection of any debts, or who regularly collects or

   attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or

   due another and is a "debt collector" as that term is defined by 15 U.S.C. § 1692a(6).

13. Defendant is a collection agency that in the ordinary course of business, regularly, on

   behalf of itself or others, engages in debt collection.

                              FACTUAL ALLEGATIONS

14. Defendant constantly and continuously placed collection calls to Plaintiff seeking and

   demanding payment for an alleged debt.

15. Defendant placed collection calls to Plaintiff at 570-200-9560 from 877-395-3125 and

   877-819-6042.

16. Defendant calls Plaintiff and hangs up without leaving a voicemail message.

17. Defendant calls Plaintiff and fails to disclose the call is from a debt collector.

                         COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

18. Defendant violated the FDCPA based on the following:

       a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

           consequence of which is to harass, oppress, or abuse the Plaintiff.

       b. Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring

           repeatedly and continuously with the intent to annoy, abuse, and harass Plaintiff.


                                  VERIFIED COMPLAINT                                            3
  Case: 1:10-cv-00046-SNLJ Doc. #: 1 Filed: 03/12/10 Page: 4 of 6 PageID #: 4




          c. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

              meaningful disclosure of the caller’s identity because Defendant calls Plaintiff

              and hangs up without leaving a voicemail message.

          d. Defendant violated §1692e(10) of the FDCPA by using deceptive means in an

              attempt to collect a debt by calling Plaintiff and hanging up without leaving a

              voicemail message.

          e. Defendant violated §1692e(10) of the FDCPA by using deceptive means in an

              attempt to collect a debt by failing to disclose in subsequent communications that

              the communication was from a debt collector.

          f. Defendant violated §1692e(11) of the FDCPA by failing to disclose in

              subsequent communications that the communication was from a debt collector.

      WHEREFORE, Plaintiff, JAMI ECKHART, respectfully requests judgment be entered

against Defendant, MEDICREDIT, INC. aka OUTSOURCE GROUP, for the following:

   19. Declaratory judgment that Defendant’s conduct violated the Fair Debt Collection

      Practices Act,

   20. Statutory damages pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. 1692k,

   21. Actual damages,

   22. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

      15 U.S.C. 1692k,




                                   VERIFIED COMPLAINT                                           4
   Case: 1:10-cv-00046-SNLJ Doc. #: 1 Filed: 03/12/10 Page: 5 of 6 PageID #: 5




    23. Any other relief that this Honorable Court deems appropriate.

                                     RESPECTFULLY SUBMITTED,

                                     By:/s/ Adam C. Maxwell
                                     [ ] Adam C. Maxwell
                                      Bar No.: 62103
                                      EDMO Bar No: 5249607
                                     Attorney for Plaintiff
                                     Krohn & Moss, Ltd.
                                     120 W. Madison Street
                                     10th Floor
                                     Chicago, IL 60602
                                     (312) 578-9428
                                     e-mail: amaxwell@consumerlawcenter.com




                                DEMAND FOR JURY TRIAL

        PLEASE TAKE NOTICE that Plaintiff, JAMI ECKHART, hereby demands trial by jury

in this action.




                                   VERIFIED COMPLAINT                               5
Case: 1:10-cv-00046-SNLJ Doc. #: 1 Filed: 03/12/10 Page: 6 of 6 PageID #: 6
